                                                                                OCI I g ZotZ
                IN THE UNITED STATES DISTRICT COURT                           u.&lrsrnEr@uirr
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                              DOCKETNO. 1:17CR92

I.INITED STATES OF AMERICA
                                                 CONSENT ORDERAND
             v.                                JUDGMENT OF FORFEITURE

1) PRESSLEY ANTONIO DAVIS



       WHEREAS, the defendant, PRESSLEY ANTONIO DAVIS, has entered into
a plea agreement (incorporated by reference herein) with the United States and has
voluntarily pleaded guilty pursuant to Fed. R. Crim. P. 1 I to one or more criminal
offenses under which forfeiture may be ordered;

       WHEREAS, the defendant and the United States stipulate and agree that the
property described below constitutes property derived from or traceable to proceeds
of the defendant's offense(s) herein; property involved in the offenses, or any
property traceable to such property; and,/or property used in any manner to facilitate
the commission of such offense(s); or substitute property as defined by 2 I U.S.C. $
853(p) and Fed. R. Crim. P. 32.2(e); and is therefore subject to forfeiture pursuant
to 18 U.S.C. $ 924(d) and 28 U.S.C. S 2461(c), provided, however, that such
forfeiture is subject to any and all third party claims and interests, pending final
adjudication herein; the defendant waives his interest, if any, in the property and
agrees to the forfeiture of such interest;

       WHEREAS, the defendant herein waives the requirements of Fed. R. Crim.
P.32.2 regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

       WHEREAS, pursuant to Fed. R. Crim. P. 32.2(b)(1) & (c)(2), the Court finds
that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty;




  Case 1:17-cr-00092-MR-WCM          Document 41      Filed 10/19/17   Page 1 of 3
       WHEREAS, the defendant withdraws any claim previously submitted in
response to an administrative forfeiture or civil forfeiture proceeding conceming any
of the property described below. If the defendant has not previously submitted such
a claim, the defendant hereby waives all right to do so. If any administrative
forfeiture or civil forfeiture proceeding concerning any of the property described
below has previously been stayed, the defendant hereby consents to a lifting of the
stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorized to
enter this Order by the previous Order of this Court No. 3:05MC302-C (September
8, 2005);

     NOW, THEREFORE, IT IS HEREBY ORDERED THAT the following
property is forfeited to the United States:
         o Hi-Point C9, 9mm caliber pistol, bearing serial number P1460162;
             and
          . Approximately nine (9) rounds of CCI brand 9mm caliber
             ammunition.

      The United States Marshal and/or other property custodian for the
investigative agency is authorized to take possession and maintain custody of the
above-described tangible property.

      If and to the extent required by Fed. R. Crim. P.32.2b)g),21 U.S.C. $
853(n), and/or other applicable law, the United States shall publish notice and
provide direct written notice of this forfeiture.

      As to any firearms and/or ammunition listed above and/or in the charging
instrument, defendant consents to disposal by federal, state,, or local law enforcement
authorities upon such legal process as they, in their sole discretion, deem to be
legally sufficient, and waives any and all right to further notice of such process or
such destruction.

       Any person, other than the defendant, asserting any legal interest in the
property may, within thirty days of the publication of notice or the receipt of notice,
whichever is earlier, petition the court for a hearing to adjudicate the validity of the
alleged interest.


                                           2




  Case 1:17-cr-00092-MR-WCM          Document 41       Filed 10/19/17    Page 2 of 3
       Pursuant to Fed. R. Crim. P. 32.2(bX3), upon entry of this Order of Forfeiture,
the United States Attorney's Office is authorized to conduct any discovery needed
to identify, locate or dispose of the property, including depositions, interrogatories,
requests for production of documents and to issue subpoenas, pursuant to Fed. R.
Civ. P.45.

       Following the Court's disposition of all timely petitions filed, a final order of
forfeiture shall be entered, as provided by Fed. R. Crim. P. 32.2(c)(2).lf no third
party files a timely petition, this order shall become the final order and judgment of
forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United States shall
have clear title to the property and shall dispose of the property according to law.
Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), the defendant consents that this order
shall be final as to defendant upon filing.

SO AGREED:




Assistant United States Attomey




                    NIO DAVIS



  €-\      QLy,L4-
EMILWM."JONES
Attomey for Defendant
                                           Signed:   od{e\         rt ,2017

                                           DENNIS L. HOWELL
                                           United States Magistrate Judge
                                           Western District of North Carolina


                                          J




  Case 1:17-cr-00092-MR-WCM          Document 41      Filed 10/19/17    Page 3 of 3
